902 F.2d 1567Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Robert B. MACHEN, Defendant-Appellant.
    No. 89-6842.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1990.Decided April 26, 1990.Rehearing and Rehearing In Banc Denied May 22, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CR No. 87-234-A;  C/A No. 89-981-AM)
      Robert B. Machen, appellant pro se.
      Justin W. Williams, Assistant United States Attorney, Alexandria, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert B. Machen appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Machen, CR No. 87-234-A;  C/A No. 89-981-AM (E.D.Va. Sept. 5, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    